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                                      CONTRACTORS SETTLEMENT LEGAL NOTICE


        Did you suffer symptoms or injuries as a result of exposure to
  formaldehyde in a Travel Trailer or Park Model Trailer provided by the
 United States Government and installed, maintained or refurbished by one
   of the below-listed Contractors following Hurricanes Katrina or Rita?

      A legal settlement provides payments to people for exposure to
                    and/or injuries from formaldehyde.
                      A court authorized this notice. This is not a solicitation from a lawyer.
        A class settlement has been proposed to resolve hundreds of   have suffered symptoms or injuries from exposure to formaldehyde
claims about travel trailers and park model trailers provided to      in the Travel Trailers and Park Model Trailers installed, maintained,
people in Alabama, Mississippi, Louisiana, and Texas following        or refurbished by a contractor listed above. The amount of money
Hurricanes Katrina and/or Rita. The settlement will pay money to      will be determined by a Class Benefit Formula approved by the
those who claim to have been exposed to formaldehyde in such          Court, after the deduction of fees from the Settlement Funds related
trailers.                                                             to each of these contractors. If you have hired a lawyer to represent
                                                                      you for claims in this litigation, please contact them for further
       The United States District Court for the Eastern District of   information.       The Settlement Agreement, available at
Louisiana will have a hearing to decide whether to give final         www.femaformaldehydelitigation.com or by calling 1-800-728-
approval to the settlement so that payments can be made. The          1628, has the details about the proposed settlement. If you received
people included in the settlement class may submit Claim Forms to     any Medicare or other government health benefits, some or all of
request a payment, exclude themselves from the settlement, object     these amounts may be deducted from your settlement.
to the settlement, or ask to speak at the hearing. Get a detailed
notice by calling toll free the number below, or by visiting the                        HOW DO YOU ASK FOR A PAYMENT?
website below.
                                                                           Call 1-800-728-1628 or go to
                       WHO’S INCLUDED?                                www.femaformaldehydelitigation.com for a Claim Form, then fill it
                                                                                                        out, sign it, and mail it post -
       If you claim to have suffered symptoms or injuries from                                          marked by October 12, 2012,
exposure to formaldehyde from a Travel Trailer or Park Model                                            to the address on the form.
Trailer provided by the federal government following Hurricanes
Katrina and/or Rita, you may be a Class Member. To be a Class                                                  YOUR OTHER OPTIONS.
Member, your Travel Trailer
or Park Model Trailer must                                                Travel Trailer or Travel                If you don’t want a
have        been       installed,                                                                          payment from this settlement,
maintained or refurbished by a                                          Travel Trailer or Park Model       and you don’t want to be
contractor listed below. The                                            Trailer                            legally bound by it, you must
paperwork you received from                                                                                exclude yourself by August
the federal government should                                                                              17, 2012 or you won’t be able
include         either        the                                     to sue, or continue to sue, the Defendants about the claims in this
manufacturer of the Travel                                            case. If you ask to be excluded, you can’t get a payment from this
Trailer, or the vehicle                                               settlement. If you stay in the settlement, you may object to it by
identification number, which                                          August 31, 2012. The detailed written notice available on the
                                        Manufactured Home             website below, or by calling the number below, explains how to
will identify the manufacturer.
If you claim exposure to formaldehyde in a Manufactured Home,         exclude yourself or object.
and not a Travel Trailer, you are not included in the Settlement.            The Court will hold a hearing in this case, called In Re:
    WHO IS SUED (WHO ARE THE SETTLING DEFENDANTS)?                    FEMA Trailer Formaldehyde Product Liability Litigation, No.
                                                                      2:07-MDL-1873, Section “N” (5), on September 27, 2012 to
      The Settlement includes the following installers, maintenance   consider whether to approve the settlement and a request by the
providers and refurbishers of the travel trailers:                    lawyers for fees, costs and expenses. You will not pay the lawyers
                                                                      representing the Class; they will be paid from the Total Settlement
Bechtel National, Inc.; CH2M HILL Constructors, Inc.; Fluor           Fund. If the settlement is approved, the Contractors listed above
Enterprises, Inc.; Shaw Environmental, Inc.; Jacquet Construction     will be released from all liability for the claims. The Settlement
Services; PRI/DJI, A Reconstruction Joint Venture; Project            Agreement explains this fully. You or your own lawyer may ask to
Resources, Inc.; American Radiation Services, Inc.; B & I Services,   appear and speak at the hearing, at your own cost, but you don’t
L.L.C.; Davis Professional Accounting Services, Inc. a/k/a Davis      have to. For more information call toll free or visit the website
Professional Services, Inc.; Multi-Task, L.L.C.; DC Recovery          below.
Systems; MLU Services, Inc.; Smith Research Corporation; T-Mac,
Inc.; TKTMJ, Inc.; and Del-Jen, Inc.
            WHAT DOES THE SETTLEMENT PROVIDE?
     The settlement with the above contractors, in the total
amount of $5,129,250.00, provides money to people who claim to



        www.femaformaldehydelitigation.com                                          1-800-728-1628
